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                              UNITED STATES DISTRICT COURT
                                                                                  FILED
                               WESTERN DISTRICT OF TEXAS   December 13, 2024
                                                           CLERK, U.S. DISTRICT COURT
                                     AUSTIN DIVISION       WESTERN DISTRICT OF TEXAS

    UNITED STATES OF AMERICA                                                              SL
                                                                        BY: ________________________________
                                                                                                DEPUTY
                Plaintiff
                                                      No. 1:24-MJ-885-DH
    v

    PHILIP TAYLOR SOBASH
                Defendant




                         MOTION FOR DETENTION OF DEFENDANT

         The government seeks pretrial detention under Title 18, United States Code, Section 3142,
et seq., and would show the Court the following:

1.         The pending case involves:

    [ ]     (a)   A crime of violence; 18 U.S.C. § 3142(f)(1)(A).

    [X]     (b)   An offense for which the maximum sentence is life imprisonment or death;
                  18 U.S.C. § 3142(f)(1)(B).

    [ ]     (c)   An offense for which a maximum term of imprisonment of ten years or more is
                  prescribed in the Controlled Substances Act, the Controlled Substances Import and
                  Export Act or the Maritime Drug Law Enforcement Act; 18 U.S.C. § 3142(f)(1)(C).

    [ ]     (d)   A felony committed after the Defendant had been convicted of two or more prior
                  offenses described in Title 18, United States Code, Section 3142(f)(l)(A)-(C) or
                  comparable state or local offenses.

    [X]     (e)   A felony that is not otherwise a crime of violence that involves a minor victim or
                  that involves the possession or use of a firearm or destructive device or any other
                  dangerous weapon or involves the failure to register under section 2250 of title
                  18, United States Code; 18 U.S.C. § 3142(f)(1)(E).1



1
 Because, as set forth in the indictment, this case involves a minor victim under, inter alia, 18
U.S.C. § 2251(a), the court is to presume, subject to rebuttal by Defendant, “that no condition or
combination of conditions shall assure [his] appearance . . . as required and the safety of the
community.” See 18 U.S.C. § 3142(e)(3)(E).
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  [X]    (f)    A serious risk that the Defendant will flee; 18 U.S.C. § 3142(f)(2)(A).

  [X]    (g)    A serious risk that the person will obstruct or attempt to obstruct justice, or attempt
                to threaten, injure or intimidate a prospective witness or juror; 18 U.S.C.
                § 3142(f)(2)(B).

  [ ]    (h)    An offense committed by the Defendant while released pending trial or sentence,
                or while on probation or parole and the person may flee and/or poses a danger to
                another person and/or the community requiring an initial 10-day detention pursuant
                to 18 U.S.C. § 3142(d).

  [ ]    (i)    An offense committed by the above named defendant who is not a citizen of the
                United States or lawfully admitted for permanent residence and the person may flee
                requiring an initial 10 day detention under the provisions of 18 U.S.C. § 3142(d).

2.      No condition or combination of conditions will:

  [X]    (a)    Reasonably assure the appearance of the person as required.

  [X]    (b)    Reasonably assure the safety of the community or any other person.

3.      The United States may advocate additional reasons for detention other than those indicated

above as the investigation proceeds and new information becomes available.

4.      Pursuant to 18 U.S.C. § 3142(f) the United States moves that the detention hearing be

continued for THREE days so that the United States can prepare for said hearing.

5.      The Government requests that the Defendant be held without bond.

                                                       Respectfully submitted,

                                                       JAIME ESPARZA
                                                       UNITED STATES ATTORNEY

                                               By:     /s/ Gabriel A. Cohen
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                                    CERTIFICATE OF SERVICE

      I hereby certify that a copy of the government’s motion for detention has been delivered
on December 13, 2024 to the Clerk of Court via electronic mail.


                                                  /s/ Gabriel Cohen
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